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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                 GREENVILLE DIVISION

CARL PORTER                                                                                 PLAINTIFF

V.                                                          CIVIL ACTION NO. 4:19-CV-00049-RP

GLORIA CARTER,
C.O. VICTORIA ECKFORD, and
C.O. HONEYCUT                                                                           DEFENDANTS

                      ORDER DISMISSING CASE WITHOUT PREJUDICE

        On August 23, 2019, the Court entered an opinion and order allowing this case to proceed

against certain defendants. Doc. #s 13, 14. On January 31, 2020, Plaintiff submitted his

proposed witness list. Doc. #42. That same date, Plaintiff moved for the production of

electronically stored information and other documents, which the Court granted in part and

denied in part on February 24, 2020. Doc. #s 38, 54.

        Since that time, Plaintiff has taken no further action to prosecute the instant case. In fact,

the Court has entered various orders regarding the management of the case about which Plaintiff

has failed to return the acknowledgements of receipt sent to him. See Doc. #s 60, 62, 63. Thus,

on October 1, 2020, the Court entered an Order directing Plaintiff to show cause within twenty-

one (21) days why his case should not be involuntarily dismissed pursuant to Federal Rule of

Civil Procedure 41(b) for failure to prosecute. Doc. # 65. Plaintiff, however, failed to respond,

and the deadline for doing so has passed.1 Accordingly, the court finds that Plaintiff’s complaint

should be DISMISSED without prejudice.

        SO ORDERED, this the 2nd day of November, 2020.
                                                 /s/ Roy Percy
                                                 UNITED STATES MAGISTRATE JUDGE



1
 While Plaintiff did not respond to the Show Cause Order, he did send the Court a signed Acknowledgement of
Receipt, confirming that he had received the aforementioned order on October 5, 2020. See Doc. # 66.
